               In the United States Court of Federal Claims
                               Sub-Master Docket No. 17-9001 L
                                   Filed: October 28, 2022



IN RE UPSTREAM ADDICKS AND
BARKER (TEXAS) FLOOD-
CONTROL RESERVOIRS                                                      RULE 54(b)
*******************************                                         JUDGMENT
THIS DOCUMENT APPLIES TO:
ALL UPSTREAM CASES


        Pursuant to the court’s Opinion and Order, filed October 28, 2022, finding that the
plaintiffs are entitled to just compensation for the permanent flowage easement the government
took through its construction, maintenance, and operation of the Addicks and Barker Dams, and
directing the entry of judgment pursuant to Rule 54(b), there being no just reason for delay,

        IT IS ORDERED AND ADJUDGED this date, pursuant to Rule 58, the following test
plaintiffs recover of and from the United States, the following amounts, plus interest at the rate of
3.62% compounded semi-annually from August 30, 2017 until the date of payment:

      Mr. and Mrs. Todd and Cristina Banker          $195,549.86

      Ms. Elizabeth Burnham                          $65,729.32

      Mr. Scott Holland                              $74,783.85

      Ms. Christina Micu                             $87,439.09

      Ms. Catherine Popovici                         $1,401.49

      Mr. Kulwant Sidhu                              $29,631.42.
Costs are deferred.


                                                       Lisa L. Reyes
                                                       Clerk of Court

                                               By:     s/ Debra L. Samler

                                                       Deputy Clerk



 NOTE: As to appeal, 60 days from this date, see RCFC 58.1, re number of copies and listing of
 all plaintiffs. Filing fee is $505.00.
